    Case 3:18-cv-06006-WHA Document 26 Filed 12/26/18 Page 1 of 12


                                            Pages 1 - 11

                    UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable William H. Alsup, Judge

Howard Clark, et al,              )
                                  )
           Plaintiffs,            )
                                  )
 VS.                              )     NO. C 18-6006 WHA
                                  )
Perfect Bar, LLC,                 )
                                  )
           Defendant.             )
                                  )

                              San Francisco, California
                              Thursday, December 20, 2018

                     TRANSCRIPT OF PROCEEDINGS

APPEARANCES:

For Plaintiffs:           The Law Office of Paul K. Joseph, P.C.
                          4125 West Point Loma Blvd., No 309
                          San Diego, CA    92110

                    BY:   PAUL K. JOSEPH, ESQ.



For Defendant:            BraunHagey & Borden, LLP
                          351 California Street, 10th Floor
                          San Francisco, CA   94104

                    BY:   MATTHEW BORDEN, ESQ
                          AMIT RANA, ESQ.




Reported By:           Vicki Eastvold, RMR, CRR
                       Official Reporter
         Case 3:18-cv-06006-WHA Document 26 Filed 12/26/18 Page 2 of 12      2


1    Thursday - December 20, 2018                           8:13 a.m.

2                            P R O C E E D I N G S

3                                  ---000---

4              THE COURT:    Now we go to the Perfect Bar.

5              THE CLERK:    Calling civil case number 18-6006, Howard

6    Clark versus Perfect Bar.

7        Will counsel please step forward and state your

8    appearances for the record.

9              MR. JOSEPH:   Good morning, Your Honor.      Paul Joseph on

10   behalf of the plaintiffs.

11             MR. BORDEN:   Good morning, Your Honor.      Matt Borden on

12   behalf of defendant Perfect Bar.      And with me is my colleague

13   Amit Rana.

14             THE COURT:    Welcome to everybody.    This is your

15   motion.

16             MR. BORDEN:   Yes, Your Honor.

17             THE COURT:    All right.   Go ahead.

18             MR. BORDEN:   My client makes a protein bar that is

19   made from organic nut butter, some superfoods that are ground

20   into it, and honey.

21             THE COURT:    You need to use the microphone.      People

22   can't hear you.

23             MR. BORDEN:   Aw, sorry.    They're being sued for making

24   statements that people believe -- I mean, the plaintiffs don't

25   even allege are false.    The statements are 17 grams of protein,
         Case 3:18-cv-06006-WHA Document 26 Filed 12/26/18 Page 3 of 12       3


1    which the --

2               THE COURT:    Let me ask a question.    You're not making

3    sense to me.   Does the packaging -- let me rephrase it not in

4    the present tense.

5        With respect to the bars in question, was the packaging in

6    full compliance with regulations with respect to listing what

7    the ingredients are and how much?

8               MR. BORDEN:   Yes, Your Honor.

9               THE COURT:    Is that correct?   Seems to me it is

10   correct, but I want to make sure the plaintiff agrees it's

11   correct.

12              MR. JOSEPH:   With respect to listing the ingredients,

13   yes, Your Honor.

14              THE COURT:    All right.   So how can there possibly be

15   anything wrong with this bar?

16              MR. JOSEPH:   Your Honor --

17              THE COURT:    Just calling -- listen.    You say it's like

18   -- it's not as healthy as you thought it would be.         That's like

19   buying a sports car and saying it wasn't as sporty as you

20   thought it would be, so give me a refund.       A partial refund.

21   Instead of paying 50,000, I want to pay 45.

22       That's what it comes down to.        To me, it doesn't make

23   sense.   So I want to give you a chance to -- what am I missing

24   in your story?

25              MR. JOSEPH:   Your Honor, plaintiffs challenge three
         Case 3:18-cv-06006-WHA Document 26 Filed 12/26/18 Page 4 of 12          4


1    separate claims as being false and misleading in the sense that

2    they convey a health and wellness message.

3               THE COURT:    All right.    Give me your best shot.       Give

4    me your best one.

5               MR. JOSEPH:   Well, Your Honor, I don't think you can

6    look at them individually.       I think you need to look at them in

7    the context of the label as a whole.

8               THE COURT:    Give them to me in context.

9               MR. JOSEPH:   So first the label prominently at the top

10   of the product, the claim "20+ superfoods."

11              THE COURT:    What?

12              MR. JOSEPH:   They label the product with the claim

13   "20+ superfoods."

14              THE COURT:    Somebody got one of these packages I can

15   look at?

16              MR. JOSEPH:   I do, Your Honor.

17              THE COURT:    All right.    She's handed me a thing that

18   says "Perfect."   Looks like a standard --

19       So where is the language on here that's so bad?

20              MR. JOSEPH:   At the very top it says "20+ superfoods."

21              THE COURT:    I see that.   20+ superfoods.    So what?

22              MR. JOSEPH:   So the dictionary definition, under the

23   Oxford dictionary for superfood, is a food that's considered to

24   be especially beneficial to health or well-being.

25       When you say that something is a superfood, rather than
         Case 3:18-cv-06006-WHA Document 26 Filed 12/26/18 Page 5 of 12   5


1    simply listing the apples and celery and the other foods that

2    they consider to be superfoods, you're inherently

3    characterizing those foods within the bar as being healthy.

4        Thus, there's I think an objectively -- you know, that's

5    an objective -- is a subjective characterization of the health

6    of the product, rather than simply making a truthful statement

7    as to the contents of the claim.      Or, of the product itself.

8        In addition, they label the bar "The Original Refrigerated

9    Protein Bar."   And we've cited consumer research --

10            THE COURT:    Where is that on here?

11            MR. JOSEPH:    That is again on the very front of the

12   label about three quarters of the way down.

13            THE COURT:    It says:   The Original Refrigerated

14   Protein Bar.

15            MR. JOSEPH:    Yes, Your Honor.

16            THE COURT:    What's misleading about that?

17            MR. JOSEPH:    Well, we've cited consumer research that

18   says that calling a product a protein bar, including the term

19   "protein" in the name of the product, contributes to and

20   creates a misleading health halo, which essentially is that --

21   it's basically when you make a claim about a certain attribute

22   of the product, it creates and gives rise to more positive

23   impression of other non-claimed qualities within the product.

24       And this is supported by consumer research.         And they

25   found that specifically including the term "protein" within the
            Case 3:18-cv-06006-WHA Document 26 Filed 12/26/18 Page 6 of 12       6


1    title itself went beyond increasing perceptions of protein

2    contents spilling over to increased perceptions of the overall

3    healthfulness of the product.

4           I think this consumer research supports that that claim

5    can contribute to the misleading message.

6           And I think really where the --

7                THE COURT:    What is misleading about it?       That this is

8    not healthy?      What is it that your grievance is about this bar?

9                MR. JOSEPH:    Yes, Your Honor.     The allegation is that

10   due to the amount of added sugar, which is between 16 and

11   24 percent of calories, the products are unhealthy.            And I want

12   to take you to --

13               THE COURT:    Well, it says right here, "organic honey."

14   Is that where the sugar comes from?

15               MR. JOSEPH:    Predominantly in that bar, yes.

16               THE COURT:    Okay.   So organic honey.     It's the second

17   ingredient.      Then up above there where it breaks down by grams,

18   it says, "sugar, 18 grams."

19          So how could anybody be misled?        If they read this they

20   would know that there was organic honey and sugar inside this

21   bar.

22               MR. JOSEPH:    Yes, Your Honor.     So there's two things.

23   First, you know, plaintiffs have alleged affirmative

24   misrepresentations.       If you give me a chance to get to the Our

25   Story part --
         Case 3:18-cv-06006-WHA Document 26 Filed 12/26/18 Page 7 of 12       7


1               THE COURT:    All right.   I read --

2        Read it out loud.      Our Family Story.      This is kind of like

3    the one on the back of the Clif Bar, which I've read many

4    times.

5        Says:    Our dad, Bud Keith, was a health food pioneer

6    before most folks had heard of health food.        To help our

7    king-size family eat healthy on the go, he mixed organic nut

8    butter and honey with a superfood blend, took one bite, and

9    proclaimed "It's perfect."       And the original Perfect Bar recipe

10   was born.    Today, we're combining whole food protein, clean

11   ingredients, and an incredible taste to share Dad's recipe with

12   the world.   Perfect Bar, a bar so fresh it belongs in the

13   fridge.    Get the whole nutty story at perfectbar.com.

14       What's so bad about that?

15              MR. JOSEPH:   Your Honor, I think when you tell

16   somebody that a health food pioneer created a health food to

17   help his family eat right, and they made it out of a superfood

18   blend and organic nut butter, that conveys a very clear health

19   message.

20              THE COURT:    Yeah.   Maybe it does.   Maybe -- are you

21   saying this is unhealthy?

22              MR. JOSEPH:   Yes.    That is our allegation, Your Honor.

23   We cite dozens --

24              THE COURT:    Like saying the sports car's not sporty

25   enough.    Actually, parts of your complaint says that it's just
         Case 3:18-cv-06006-WHA Document 26 Filed 12/26/18 Page 8 of 12        8


1    not healthy enough.      That you overpaid.   You want to keep the

2    bar and eat it, but you want a refund.        Partial refund.    That's

3    what you also allege.

4               MR. JOSEPH:   Your Honor, I think there's two things

5    going on.   One, the plausibility of the claim.       And the injury

6    itself is economic in nature, yes.       It is paying a price

7    premium attributable to the misleading challenged claims.

8               THE COURT:    Me -- look.   Life is so short.    How can we

9    litigate something like this?     Really.

10              MR. JOSEPH:   Your Honor --

11              THE COURT:    Ordinary consumers will know good and well

12   there's going to be sugar in here.       They know that sugar --

13   what sugar does for you.     And if they don't, that's their

14   problem.

15              MR. JOSEPH:   Your Honor?   If I --

16              THE COURT:    Yeah.

17              MR. JOSEPH:   First of all, Williams v Gerber prevents

18   a court on a motion to dismiss from saying that consumers are

19   obligated to look at the ingredient list or the nutrition facts

20   to correct an affirmative misrepresentation.        We believe that

21   the three misleading claims -- the stories, the name of the

22   product, and the 20+ superfood claims -- constitute an

23   affirmative misrepresentation, and on a motion to dismiss you

24   can't simply say that a --

25              THE COURT:    The story itself says they use honey in
         Case 3:18-cv-06006-WHA Document 26 Filed 12/26/18 Page 9 of 12         9


1    there.   The very thing you want me to look at says they use

2    honey.

3             MR. JOSEPH:    Yes, Your Honor.     And we specifically

4    allege that consumers are unaware of how much sugar is

5    detrimental to their health.

6        And another important aspect is that even though these

7    products disclose the total amount of sugar, they do not

8    disclose the amount of added sugar.      And from the back of that

9    bar, the consumer would not necessarily be able to tell how

10   much sugar --

11            THE COURT:    Did the law -- at the time this bar was

12   sold, did the law require the amount of added sugar to be

13   disclosed?

14            MR. JOSEPH:    It does not presently.      But the fact that

15   a company makes an affirmative misrepresentation, you know,

16   doesn't -- even though they weren't required to put that on

17   there, they also weren't required to make affirmative

18   misrepresentations.    And they do make --

19            THE COURT:    What is the affirmative misrepresentation

20   about added sugar?    Is that the honey?     Is that what you're

21   talking about?   The honey is the added sugar?

22            MR. JOSEPH:    Your Honor, there's no misrepresentation

23   as to the added sugar.    It's a misrep --

24            THE COURT:    Where is the added sugar coming from?         The

25   honey?
        Case 3:18-cv-06006-WHA Document 26 Filed 12/26/18 Page 10 of 12      10


1               MR. JOSEPH:   It is coming from the honey.

2               THE COURT:    So they say the honey's in there.     So how

3    can that be -- they're putting honey in the product.

4               MR. JOSEPH:   Understood, Your Honor.    But that doesn't

5    necessarily -- a reasonable consumer wouldn't necessarily

6    understand from that that the amount of added sugar coming from

7    honey renders the product unhealthy.      It's not that they're

8    making a misrepresentation as to the amount of added sugar.

9    They're making misrepresentation as to the product being

10   healthy.   Intrinsically healthy.

11              THE COURT:    That's like saying my sports car wasn't

12   sporty enough.   That you bought a sedan.      You didn't get a

13   sports car.

14              MR. JOSEPH:   You know, Your --

15              THE COURT:    Where does it say that there's some --

16       Does the FDA have special rules on using the word "health

17   bar"?

18              MR. JOSEPH:   Your Honor, the FDA does have regulations

19   of the term "healthy"; none that either party necessarily

20   alleges or contends that apply here.      But the FDA regulates the

21   term "healthy" both in health claims and nutrient content

22   claims.    In Hadley versus Kellogg, Judge Koh noted that the

23   fact that the FDA regulates the term "healthy" implies that

24   consumers rely on health and wellness messages for purchasing

25   foods.    And, you know, I think that's absolutely true.
        Case 3:18-cv-06006-WHA Document 26 Filed 12/26/18 Page 11 of 12    11


1    Consumers do care about their health.       And specifically in the

2    complaint we allege that consumers are willing to pay more for

3    foods that they perceive as being healthy.       And we cite --

4               THE COURT:    On the scale of one to ten, they thought

5    they were buying a ten most healthy product, and it turns out

6    it's only a six.   It's somewhat healthy, but not healthy as you

7    thought.   You get a partial refund.

8        The law cannot be that ridiculous.       The law just can't be

9    that ridiculous.   I'm handing your bar back.

10       Okay.    I got to go to my next case.

11       I want to ask you, Mr. Borden.        If I simply say in one

12   line, for the reasons stated by Mr. Borden in his brief, I'm

13   dismissing the case with prejudice, do you stand by everything

14   that's in your brief?

15              MR. BORDEN:   Yes, Your Honor.

16              THE COURT:    All right.   Have a good day.

17              MR. BORDEN:   Thank you, Your Honor.

18              MR. JOSEPH:   Thank you, Your Honor.

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        Case 3:18-cv-06006-WHA Document 26 Filed 12/26/18 Page 12 of 12


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3                         CERTIFICATE OF REPORTER

4            I certify that the foregoing is a correct transcript

5    from the record of proceedings in the above-entitled matter.

6

7    DATE:   Wednesday, December 26, 2018

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11       _________________/s/Vicki Eastvold___________________

12                        Vicki Eastvold, RMR, CRR
                             U.S. Court Reporter
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